Case: 3:12-cv-00031-DCR-EBA Doc #: 25 Filed: 05/20/13 Page: 1 of 1 - Page ID#: 81



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     (at Frankfort)

 CASEY NOLIN,                                  )
                                               )
        Plaintiff,                             )      Civil Action No. 3: 12-031-DCR
                                               )
 V.                                            )
                                               )
 ENHANCED RECOVERY CO., LLC,                   )                   ORDER
                                               )
        Defendant.                             )

                                      *** *** *** ***

       The Court having been advised that settlement has been reached on all issues in this case

[Record No. 24], it is hereby

       ORDERED as follows:

       1.        This matter is DISMISSED, without prejudice, and STRICKEN from the Court’s

active docket.

       2.        The parties shall tender an Agreed Order dismissing this case with prejudice

within 45 days of the entry of this Order. The Court will entertain a motion to re-docket this

action upon application to this Court within 45 days from entry of this Order if the settlement

is not consummated.

       This 20th day of May, 2013.




                                              -1-
